                        Case 1-18-43391-cec               Doc 16          Filed 07/12/18            Entered 07/12/18 22:32:16


 Fill in this information to identify your case:

                      Jemela Ruby Daniels
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________      District
                                          Eastern District of New York
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                            Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                          ✔ Employed
    information about additional         Employment status                                                                Employed
    employers.                                                            Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   Patient Access Supervisor
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          New York Presbyterian Hospital
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address               622 West 168th Street
                                                                       _______________________________________     ________________________________________
                                                                        Number Street                               Number    Street

                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                          New York, NY 10032
                                                                       _______________________________________     ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   15 Years                                          ________________________

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.       4,926.87
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.       4,926.87
                                                                                                 $__________            $____________




Official Form 106I                                                 Schedule I: Your Income                                                      page 1
                       Case 1-18-43391-cec                                Doc 16            Filed 07/12/18                  Entered 07/12/18 22:32:16
Debtor 1
                 Jemela   Ruby Daniels
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        4,926.87
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          770.38
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.          253.63
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
                                     Transportation and parking
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                               290.33         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
     Supplemental Life
    _____________________________________________________________                                                              24.27
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,338.61
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        3,588.26
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                              600.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.          600.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            4,188.26
                                                                                                                         $___________     +       $_____________      =      4,188.26
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4,188.26
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     ✔ No.
      Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
